         Case 1:21-cr-00537-JMC Document 259 Filed 05/08/23 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
     UNITED STATES OF AMERICA,                   ) `
                                                 ) Criminal No. 21-cr-00537-JMC
                       v.                        )
                                                 )
              RYAN SAMSEL,                       )
                                                 )
                 Defendant.                      )
                                                 )

      SUPPLEMENTAL BRIEF IN RESPONSE TO UNITED STATES V. FISCHER

       On October 28, 2022, Mr. Samsel filed a motion to dismiss the third superseding

indictment in this case. In his motion, Mr. Samsel argued 1) that 18 U.S.C. § 1512(c)(2) does

not criminalize the conduct alleged in the indictment, 2) that the Supreme Court’s opinions in

Yates v. United States, 574 U.S. 528 (2015) favor dismissal, 3) that the indictment fails to plead

essential elements of the charged offenses, and 4) that the rule of lenity favors dismissal. (ECF

No. 208) (Oct. 28, 2022). The government filed an omnibus response to this motion on

November 18, 2022 (ECF No. 219). On January 13, 2023, the court denied the defendants’

motions to dismiss. Subsequently, two events have taken place procedurally. First, the

government filed another superseding indictment against Mr. Samsel, the fourth in this case, on

February 15, 2023. ECF No. 245. Second, the United States Court of Appeals for the D.C.

Circuit issued an opinion in United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023), reversing

the dismissal of another judge in this District a § 1512(c)(2) chargs. On April 7, 2023, this court

ordered the parties to file any supplemental briefings in response to this decision. This

supplemental brief now follows.

       Fischer resolved the government’s appeal of the trial court’s dismissal of § 1512(c)(2)

charges lodged in three January 6 cases. Id. at *2. The Fischer Court held that “individuals who



                                              Page 1
             Case 1:21-cr-00537-JMC Document 259 Filed 05/08/23 Page 2 of 5




allegedly assaulted law enforcement officers while participating in the Capitol riot can be

charged with corruptly obstructing, influencing, or impeding an official proceeding, in violation

of 18 U.S.C. § 1512(c)(2).” Id. The decision in Fischer was, to put it mildly, “splintered.” Id. at

*68, n. 10 (Walker, J., concurring in part). Judge Pan and Judge Walker, who formed the

majority, agreed that January 6 rioters who feloniously assaulted police officers, as was alleged

in the Fischer indictments, could be prosecuted under §1512(c)(2)’s residual clause. Id. at *2,

*67. In his concurring opinion, however, Judge Walker made clear that he did not join Section

I.C.1 of Judge Pan’s majority opinion pertaining to the term “corruptly.” Id. at *46. 1

           Judge Walker insisted that the term “corruptly” be read to include a requirement that the

object of the alleged obstruction be an “unlawful benefit” to the defendant or someone else. Id.

at *46, n. 1 (“[M]y vote to uphold the indictments depends on it.”). 2 Notably, Judge Walker

advised: “If I did not read ‘corruptly’ narrowly, I would join the dissenting opinion.” Id. at *68.

Additionally, citing the Supreme Court’s Marks rule on fractured opinions, Judge Walker

suggested that his viewpoint on “corruptly” should carry the day. Id. at *68 n. 10 (Walker, J.

concurring in part). 3 While Judge Pan disputed that the Marks rule would apply in Fischer, id. at

*24, n. 5, as Judge Walker’s concurrence was the sine qua non of the result in Fischer, it appears



1
  Judge Walker, along with dissenting Judge Katsas, argued that the government’s interpretation of § 1512(c)(2)’s
residual clause was “breathtaking and untenable [in] scope.” Id. at *65 (Walker, J., concurring in part), *114
(Katsas, J., dissenting).
2
    Judge Walker repeatedly emphasized his conditional joinder of the majority opinion:
      • “Because I read ‘corruptly’ as courts have read it for hundreds of years—and only because I read it that way—
      I concur in the Court’s judgment.” 2023 U.S. App. LEXIS 8284 at *68;
      • “[M]y reading of ‘corruptly’ is necessary to my vote to join the lead opinion’s proposed holding on ‘obstructs,
      influences, or impedes’ an ‘official proceeding.’” Id.; and
      • “[I]n my view, the rationale in the lead opinion is not enough to uphold the indictments.” Id.
      3
       Judge Walker cited the Third Circuit’s holding in Binderup for the proposition that his ruling “may also be
      controlling” on the D.C. Circuit under Marks. Id. at *68, n. 10 (citing Binderup v. Attorney General, 836 F.3d
      336, 356 (3d Cir. 2016) (en banc)).



                                                         Page 2
         Case 1:21-cr-00537-JMC Document 259 Filed 05/08/23 Page 3 of 5




that the D.C. Circuit has set forth a definition of corruptly that contains a new element, i.e., that

the defendant must knowingly seek an unlawful benefit for himself or another person. Id. at *48,

n.1, *46-47.

       Mr. Samsel maintains the arguments made in his initial motion to dismiss and subsequent

filings in support thereof warrant the dismissal of the indictment in this case. However, the

concurrence in Fischer provides reinforcement of those arguments. More specifically, the

concurrence provides support for Mr. Samsel’s argument that the term “corruptly,” as defined,

does not apply to Mr. Samsel’s conduct in this case and ultimately is an element of 1512(c)(2)

that the government failed to allege in its indictment against Mr. Samsel.

       As the concurrence held in Fischer, there has been a “long-established requirement that a

defendant acts ‘corruptly’ only when he seeks to secure an unlawful benefit.” Fischer, 64 F.4th

at *55. In reviewing case law relating to obstruction of justice, the concurrence went on to

elaborate that “[e]ither explicitly or implicitly, ‘corruptly’ requires an intent to procure an

unlawful benefit. And the more conduct an obstruction statute reaches, the more vigilantly we

must apply the long-established (and relatively narrow) meaning of ‘corruptly.’” Id. The court

explained that this is necessary because “[o]therwise we risk giving criminal provisions an

implausibly broad scope, and we reduce “corruptly” to a synonym for another established mental

state – ‘willfully.’” Id. Finally, Judge Walker went on to define “corruptly” in the context of

1512(c)(2) to mean, “to act ‘with an intent to procure an unlawful benefit either for [oneself] or

for some other person.’” Id. at 57-58 (quoting Marinello v. United States, 138 S. Ct. 1101, 1114

(2018). This definition of “corruptly,” the court goes on, “requires proof that the defendant not

only knew he was obtaining an ‘unlawful benefit’ but that his ‘objective’ or ‘purpose’ was to

obtain that unlawful benefit.” Id.




                                                Page 3
         Case 1:21-cr-00537-JMC Document 259 Filed 05/08/23 Page 4 of 5




       With respect to Mr. Samsel, allowing the government to use the term “corruptly” in

describing Mr. Samsel’s conduct on January 6, and ultimately allowing the government to charge

Mr. Samsel with corruptly obstructing an official proceeding under 1512(c)(2), results in the

exact danger that Judge Walker admonished against. On January 6, 2021, Mr. Samsel attended

the rallies in support of former President Trump and ultimately found himself amongst the crowd

that made its way towards the Capitol building in protest of the election results. However, of

note, Mr. Samsel is not alleged to have exchanged any messages or have made any

communications generally that indicated an intent to obtain the unlawful benefit of obstructing

the electoral college proceeding. Furthermore, there has been no allegation indicating that Mr.

Samsel’s objective or purpose on January 6 was to obtain this unlawful benefit. Absent any

indication that this was Mr. Samsel’s intent on that day, this has resulted in the allowance of the

government to apply 1512(c)(2) with an “implausibly broad scope” such that anyone who was

present for the events of January 6, 2021, may be charged with acting “corruptly” under 18

U.S.C. § 1512(c)(2). seal.

 Dated: May 8, 2023                         Respectfully submitted,

                                                   /s/ Stanley E. Woodward, Jr.
                                            Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                            BRAND WOODWARD LAW, LP
                                            1808 Park Road NW
                                            Washington, DC 20010
                                            202-996-7447 (telephone)
                                            202-996-0113 (facsimile)
                                            Stanley@BrandWoodwardLaw.com

                                            Counsel for Defendant Ryan Samsel




                                              Page 4
         Case 1:21-cr-00537-JMC Document 259 Filed 05/08/23 Page 5 of 5




                                  CERTIFICATE OF SERVICE

        On May 8, 2023, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                     /s/ Stanley E. Woodward, Jr.
                                              Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                              BRAND WOODWARD LAW, LP
                                              1808 Park Road NW
                                              Washington, DC 20010
                                              202-996-7447 (telephone)
                                              202-996-0113 (facsimile)
                                              Stanley@BrandWoodwardLaw.com

                                              Counsel for Defendant Ryan Samsel
